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            EXHIBIT 2
                        *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
        Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 2 of 63 Page ID #:7452

                                                                                                                           CC(Q)rlf
   AO 106 (Rev. 04/10) Appltcat1on for a Search Warrant (USAO CDCA Rev. 01/2013)



                                        UNITED STATES DISTRICT                                  0   trI     u.s. DISTRICT cou\RT
                                                                        for the
                                                            Central District of California
                                                                                                     I JUL - I 2016
                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                                                 BY                     DEPUTY
                In the Matter of the Search of                             )
            (Briefly describe the property to be searched                  )
             or identify the person by name and address)                            Case No.
                                                                           )
      Information associated with account identified as                    )
    Jose                   .net that is stored at premises                 )
      controlled by Yahoo, Inc. Sunnyvale, CA 94089.                       )

                                              APPLICATION FOR A SEARCH WARRANT
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):
      See Attachment A

   located in the
                      - - -Northern
                            - - - - - District of - - - - -
                                                          California
                                                            - - - - - - - , there is now concealed (identify the
   person or describe the property to be seized):

      See Attachment B

             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  ~ evidence of a crime;
                    ~ contraband, fruits of crime, or other items illegally possessed;
                    ~ property designed for use, intended for use, or used in committing a crime;
                    0 a person to be arrested or a person who is unlawfully restrained.

             The search is related to a violation of:
                Code Section(s)                                                      Offense Description
                                                                                      See attached Affidavit


             The application is based on these facts:
      See attached Affidavit

              ii Continued on the attached sheet.



                                                                                                  Applicant's signature

                                                                                               FBI SA ANDREW CIVETTI
                                                                                                  Printed name and title

   Sworn to before me and signed in my presence.


   Date:
                                                                                                    Judge 's signature

   City and state: Los Angeles, California                                           Alicia G. Rosenberg, U.S. Magistrate Judge
                                                                                                 Printed name and title
AUSA: D. Mille~~-2216




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                                                                           Casino 0358058
              *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
     Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 3 of 63 Page ID #:7453




                                    ATTACHMENT A

                              PROPERTY TO BE SEARCHED

           This warrant applies to information associated with the

     account identified as Jose                         .net and believed to

     be used by JOSE HUIZAR that is stored at premises controlled by

     Yahoo!, Inc., a company that accepts service of legal process at

      its headquarters located in Sunnyvale, California.




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358059
                *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
     Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 4 of 63 Page ID #:7454




                                    ATTACHMENT B

                                 ITEMS TO BE SEIZED
     I.    SEARCH PROCEDURE

           1.     The search warrant will be presented to personnel of

     Yahoo!,Inc.     (the "PROVIDER"), who will be directed to isolate

     the information described in Section II below.

           2.     To minimize any disruption of service to third

     parties, the PROVIDER'S employees and/or law enforcement

     personnel trained in the operation of computers will create an

     exact duplicate of the information described in Section II

     below.

           3.     The PROVIDER'S employees will provide in electronic

      form the exact duplicate of the information described in Section

      II below to the agent who serves the search warrant.

           4.     With respect to contents of wire and electronic

      communications produced by the PROVIDER (hereafter,          "content

      records," see Section II.10.a below), law enforcement agents

      and/or individuals assisting law enforcement and acting at their

      direction (the "search team") will examine such content records

     pursuant to search procedures specifically designed to identify

      items to be seized under this warrant.        The search shall extract

      and seize only the specific items to be seized under this

      warrant (see Section III below).         In conducting this search, the

      search team shall take notes regarding how it conducts the

      search.

           5.     If the search team encounters immediately apparent
      contraband or other evidence of a crime outside the scope of the


                                           i




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358060
                *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
     Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 5 of 63 Page ID #:7455




      items to be seized, the team shall immediately discontinue its

     search pending further order of the Court and shall make and

     retain notes detailing how the contraband or other evidence of a

     crime was encountered, including how it was immediately apparent

     contraband or evidence of a crime.

           6.     The search team will complete its search of the

     content records as soon as is practicable but not to exceed 60

     days from the date of receipt from the PROVIDER of the response

     to this warrant.      If additional time is needed, the government

     may seek an extension of this time period from the Court within

     the original 60-day period.

           7.     Once the search team has completed its review of the

      content records and created copies of the items seized pursuant

      to the warrant, the original production from the PROVIDER will

     be sealed       and preserved by the search team for authenticity

      and chain of custody purposes -- until further order of the

      court.    Thereafter, the search team will not access the data

      from the sealed original production which fell outside the scope

      of the items to be seized absent further order of the Court.

           8.     The special procedures relating to digital data found

      in this warrant govern only the search of digital data pursuant

      to the authority conferred by this warrant and do not apply to

      any search of digital data pursuant to any other court order.

           9.      Pursuant to 18 U.S.C. § 2703(g) the presence of an

      agent is not required for service or execution of this warrant.




                                           ii




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358061
              *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
     Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 6 of 63 Page ID #:7456




      II.   INFORMATION TO BE DISCLOSED BY THE PROVIDER

            10.   To the extent that the information described in

     Attachment A is within the possession, custody, or control of

      the PROVIDER, including any information that has been deleted

     but is still available to the PROVIDER, or has been preserved

     pursuant to a request made under 18 U.S.C. § 2703(f), the
                                                                               f
      PROVIDER is required to disclose the following information to

      the government for each SUBJECT ACCOUNT listed in Attachment A:

                  a.   All contents of all wire and electronic

      communications associated with the SUBJECT ACCOUNT, limited to

      that which occurred on or after April 1, 2013, including:

                       i.    All e-mails, communications, or messages of

      any kind associated with the SUBJECT ACCOUNT, including stored

      or preserved copies of messages sent to and from the account,

      deleted messages, and messages maintained in trash or any other

      folders or tags or labels, as well as all header information

      associated with each e-mail or message, and any related

      documents or attachments.

                       ii.   All records or other information stored by

      subscriber(s) of the SUBJECT ACCOUNT, including address books,

      contact and buddy lists, calendar data, pictures or photos,

      videos, notes, texts, links, user profiles, account settings,

      access logs, and files.

                       iii. All records pertaining to communications

      between the PROVIDER and any person regarding the SUBJECT

      ACCOUNT, including contacts with support services and records of

      actions taken.


                                          iii




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358062
              *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
     Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 7 of 63 Page ID #:7457




                 b.    All other records and information, including:

                       i.    All user connection logs and transactional

     information of all activity relating to the SUBJECT ACCOUNT

     described above in Section II.10.a, including all log files,

     dates, times, durations, data transfer volumes, methods of

     connection, IP addresses, ports, routing information, dial-ups,

     and locations.

                       ii.   All subscriber information pertaining to the

     SUBJECT ACCOUNT, including the date on which the account was

     created, the length of service, the IP address used to register

     the account, the subscriber's full name(s), screen name(s),

     other account names or e-mail addresses associated with the

     account, telephone numbers, physical addresses, and other

     identifying information regarding the subscriber, the types of

     service utilized, account status, account settings, login IP

     addresses associated with session dates and times, as well as

     means and source of payment, including detailed billing records.

                       iii. Any information showing the location of the

     user of a SUBJECT ACCOUNT, including while sending or receiving

     a message using a SUBJECT ACCOUNT or accessing or logged into a

     SUBJECT ACCOUNT.


     III. INFORMATION TO BE SEIZED BY THE GOVERNMENT

           11.   For each SUBJECT ACCOUNT listed in Attachment A, the

     search team may seize:

                 a.    All information described above in Section
      II.10.a that constitutes evidence, contraband, fruits, or


                                          iv




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358063
              *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
     Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 8 of 63 Page ID #:7458




     instrumentalities of violations of 18 U.S.C.         §§   371

      (Conspiracy), 666 (Bribery and Kickbacks Concerning Federal

     Funds), 1341, 1343, and 1346 (Deprivation of Honest Services),

     1951 (Extortion), and 1956 (Money Laundering), and 31 U.S.C.            §

     5324(a) (3)    (Structuring a Financial Transaction to Evade a

     Reporting Obligation), those violations involving JOSE HUIZAR,

     WEI HUANG, RICKY ZHENG, GEORGE ESPARZA, and RAYMOND CHAN

     occurring after April 1, 2013, namely:

                        i.    Information relating to who created,

     accessed, or used the SUBJECT ACCOUNT, including records about

     their identities and whereabouts.

                        ii.   All records relating WEI HUANG, RICKY ZHENG,

     GEORGE ESPARZA, RAYMOND CHAN, SHENZHEN NEW WORLD GROUP, SHENZHEN

     NEW WORLD INVESTMENT, INC., and the LA Hotel Downtown.

                        iii. All records relating to Las Vegas, including

     any receipts, reservation confirmations, flight itineraries,

     photographs, and bank records relating to Southwest Airlines,

      the Palazzo, Caesar's Palace, the Wynne, and the Cosmopolitan.

                        iv.   All financial records,    including those

      relating JOSE HUIZAR, his mother, Isidra Huizar, and his

     brother, Salvador Huizar, and their respective bank accounts

      ending in #0843, #2634, and #3900.

                   b.   All records and information described above in

      Sections II.10.a and II.10.b.




                                           V




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358064
              *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
     Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 9 of 63 Page ID #:7459




      IV.   PROVIDER PROCEDURES

            12.   IT IS ORDERED that the PROVIDER shall deliver the

      information set forth in Section II within 10 days of the

      service of this warrant.      The PROVIDER shall send such

      information to:


                  SA Andrew Civetti




            13.   IT IS FURTHER ORDERED that the PROVIDER shall provide

      the name and contact information for all employ~es who conduct

      the search and produce the records responsive to this warrant.

      IT IS FURTHER ORDERED that the PROVIDER shall not notify any
      person, including the subscriber(s) of each account identified

      in Attachment A, of the existence of the warrant.




                                          vi




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358065
             *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
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                      EXHIBIT A



SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358066
                     *SUBJECT TODocument
            Case 2:20-cr-00326-JFW PROTECTIVE  ORDER
                                         307-3 Filed     - Sensitive
                                                     12/16/21 Page 11Materials*
                                                                      of 63 Page ID #:7461




t"···
Confidential Treatment Requested by Las Vegas Sands Corp.                         LVSC-HUIZAR-S 1-001831




        SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                       Casino 0358067
            *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
    Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 12 of 63 Page ID #:7462




                                                                            LVSC-HUIZAR-S 1-001832




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358068
                               *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
             Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 13 of 63 Page ID #:7463




Confidential Treatment Requested by Las Vegas Sands Corp




 SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                                Casino 0358069
                           *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
           Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 14 of 63 Page ID #:7464




Confidential Treatment Requested by Las Vegas Sands Corp.                          LVSC-HUIZAR-S 1-001834




 SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                               Casino 0358070
             *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
    Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 15 of 63 Page ID #:7465




                                                                             LVSC-HUIZAR-Sl-001835




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358071
                               *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
             Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 16 of 63 Page ID #:7466




Confidential Treatment Requested by Las Vegas-Sands Corp.                             L VSC-mJIZAR-S 1-001836




  SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                               Casino 0358072
                               *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
             Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 17 of 63 Page ID #:7467




Confidential Treatment Requested by Las Vegas Sands Corp.                             L VSC-HUIZAR-S 1-001837




 SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                                Casino 0358073
             *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
    Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 18 of 63 Page ID #:7468




                       EXHIBIT B



SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358074
                               *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
            Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 19 of 63 Page ID #:7469




                           -.-
Confidential Treatment Requested by Las Vegas Sands Corp.                            LVSC-HUIZAR-S 1-001839




 SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                               Casino 0358075
             *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
    Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 20 of 63 Page ID #:7470




                                                                               L\SC HUlAR <;! 001818




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358076
             *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
    Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 21 of 63 Page ID #:7471




                      EXHIBIT C



SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358077
                *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
    Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 22 of 63 Page ID #:7472
                                                                          Page 1 of 1




     https://c2.staticflickr.com/8/7318/l 6337389717_ec782 l 54c8_b.jpg     6/30/2016



SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358078
  Case 2:20-cr-00326-JFW Document 307-3ORDER
         *SUBJECT TO PROTECTIVE         Filed 12/16/21 Page Materials*
                                                - Sensitive 23 of 63 Page ID #:7473

                                                                      Page 1 of l




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     https ://planefinder.net/images/5983902 :Photo:682144.jpg

                                                                           Casino 0358079
SUBJECT TO PROTECTIVE ORDER - Sensitive Materials
             *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
    Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 24 of 63 Page ID #:7474




                                                                          I VSC-IIUJ7 AR-~ 1-001827




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                         Casino 0358080
                          *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
           Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 25 of 63 Page ID #:7475




Confidential Treatment Requested by La~ Vegas Sands Corp                         I VSC-JIUI7 AR-S 1-001828




 SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                              Casino 0358081
                         *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
          Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 26 of 63 Page ID #:7476




Confidential Treatment Requested b) Lds Vegas Sands Corp                        LVSC-IIUI7 AR-S 1-001829




 SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                              Casino 0358082
                         *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
          Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 27 of 63 Page ID #:7477




Confidential Treatment Requested by Las Vegas Sands Corp.




 SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                              Casino 0358083
                *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
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                                      AFFIDAVIT

           I, Andrew Civetti, being duly sworn, declare and state as

      follows:
                                 I.    INTRODUCTION

           1.      I am a Special Agent ("SA") with the Federal Bureau of

      Investigation ("FBI"), and have been so employed for

      approximately nine months.      I am currently assigned to the

      Public Corruption Squad, where I specialize in the investigation

      of corrupt public officials, including bribery, fraud against

      the government, extortion, and money laundering.         In addition, I

      have received training in the investigation of public corruption

      and other white collar crimes.

           2.      I make this affidavit in support of an application for

      a search warrant for information associated with the account

      identified as Jose                       .net and believed to be used

      by JOSE HUIZAR (the "SUBJECT ACCOUNT") that is stored at

      premises controlled by Yahoo!, Inc.       (the "PROVIDER"), a provider

      of electronic communication and remote computing services,

      headquartered at Sunnyvale, California. 1       The information to be

            1 Because this Court has jurisdiction over the offense(s)
      being investigated, it may issue the warrant to compel the
      PROVIDER pursuant to 18 U.S.C. §§ 2703 (a), (b) (1) (A), (c) (1) (A).
      See 18 U.S.C. §§ 2703(a) ("A governmental entity may require the
      disclosure by a provider . . . pursuant to a warrant issued
      using the procedures described in the Federal Rules of Criminal
      Procedure . . . by a court of competent jurisdiction") and 2711
       ("the term 'court of competent jurisdiction' includes -- (A) any
      district court of the United States (including a magistrate
      judge of such a court) or any United States court of appeals
      that -- (i) has jurisdiction over the offense being
      investigated; (ii) is in or for a district in which the provider
      of a wire or electronic communication service is located or in
                                           (footnote cont'd on next page)




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358084
                *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
    Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 29 of 63 Page ID #:7479




      searched is described in Attachment A.            This affidavit is made

      in support of an application for a search warrant under 18

      U.S.C.    §§   2703 (a), 2703 (b) (1) (A), 2703 (c) (1) (A) and 2703 (d)   2   to

      require the PROVIDER to disclose to the government copies of the

      information (including the content of communications) described

      in Section II of Attachment B.          Upon receipt of the information

      described in Section II of Attachment B, law enforcement agents

      and/or individuals assisting law enforcement and acting at their

      direction will review that information to locate the items

      described in Section III of Attachment B.            Attachments A and B

      are incorporated herein by reference.

           3.        As described more fully below, I respectfully submit

      there is probable cause to believe that the information

      associated with the SUBJECT ACCOUNT constitutes evidence,

      contraband, fruits, or instrumentalities of criminal violations


      which the wire or electronic communications, records, or other
      information are stored; or (iii) is acting on a request for
      foreign assistance pursuant to section 3512 of this title").
           2 The government is seeking non-content records pursuant to
      18 U.S.C. § 2703(d). To obtain the basic subscriber
      information, which do not contain content, the government needs
      only a subpoena.  See 18 U.S.C. § 2703(c) (1), (c) (2).  To obtain
      additional records and other information--but not content--
      pertaining to subscribers of an electronic communications
      service or remote computing service, the government must comply
      with the dictates of section 2703(c) (1) (B), which requires the
      government to supply specific and articulable facts showing that
      there are reasonable grounds to believe that the records or
      other information sought are relevant and material to an ongoing
      criminal investigation in order to obtain an order pursuant to
      18 U.S.C. § 2703(d).  The requested warrant calls for both
      records containing content (see Attachment B paragraph 11.10.a)
      as well as subscriber records and other records and information
      that do not contain content (see Attachment B paragraph
      II.10.b).                    --



                                               2




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                            Casino 0358085
                   *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
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      of 18    u.s.c.    §§   371 (Conspiracy), 666 (Bribery and Kickbacks

      Concerning Federal Funds), 1341, 1343, and 1346 (Deprivation of

      Honest Services), 1951 (Extortion), and 1956 (Money Laundering),

      and 31 U.S.C.       §   5324(a) (3)   (Structuring a Financial Transaction

      to Evade a Reporting Obligation).

              4.      The facts set forth in this affidavit are based upon

      my personal observations, my training and experience, and

      information obtained from other agents and witnesses.             This

      affidavit is intended to show merely that there is sufficient

      probable cause for the requested warrant and does not purport to

      set forth all of my knowledge of or investigation into this

      matter.        Unless specifically indicated otherwise, all

      conversations and statements described in this affidavit are

      related in substance and in part only.


                              II.   SUMMARY OF THE INVESTIGATION

              5.      The FBI is currently investigating JOSE HUIZAR, a

      sitting member of the Los Angeles City Council since 2005, for

      soliciting and accepting bribes and kickbacks from WEI HUANG,

      the President and Chairman of SHENZHEN NEW WORLD GROUP, a

      Chinese-based real estate development company, and from RICKY

      ZHENG, the company's Executive Director.             The bribes and

      kickbacks include gambling chips at Las Vegas casinos, many of

      which JOSE HUIZAR has converted to cash.             SHENZHEN NEW WORLD

      GROUP owns and operates "the LA Hotel Downtown" in JOSE HUIZAR's

      District 14.        As set forth below, the SUBJECT ACCOUNT has been

      identified as a private e-mail account JOSE HUIZAR used to


                                                 3




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                           Casino 0358086
                *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
    Case 2:20-cr-00326-JFW Document 307-3 Filed 12/16/21 Page 31 of 63 Page ID #:7481




      arrange flights to and from Las Vegas, as well as to communicate

      with his Special Assistant at the City Council, GEORGE ESPARZA,

      someone who accompanied JOSE HUIZAR on at least one of his 2014

      trips to Las Vegas with WEI HUANG and RICKY ZHENG, and where

      GEORGE ESPARZA witnessed WEI HUANG sharing casino chips with

      JOSE HUIZAR.

           6.      The FBI's investigation began after the FBI received

      information from the Las Vegas Sands Corporation (owners of the

      Palazzo Hotel in Las Vegas) that JOSE HUIZAR had been a frequent

      guest of WEI HUANG at its Palazzo Hotel and had received

      approximately $79,000 in chips from WEI HUANG during his gaming

      activities.     JOSE HUIZAR eventually cashed out approximately

      $36,500 of the chips provided to him by WEI HUANG and failed to

      report any of it, either as income or as a gift, on his

      California Form 700 (Statement of Economic Interests).          The FBI

      has reviewed surveillance footage and hotel records provided by

      the Palazzo showing (1) JOSE HUIZAR, GEORGE ESPARZA, WEI HUANG,

      and RICKY ZHENG gambling together at the hotel,         (2) JOSE HUIZAR

      cashing out thousands of dollars in chips that he did not

      purchase, and (3) JOSE HUIZAR and GEORGE ESPARZA traveling with

      WEI HUANG and RICKY ZHENG on the hotel's private jet.

           7.      The trips to the Palazzo took place between June 2014

      and July 2015.     I have reviewed bank records belonging to JOSE

      HUIZAR and several of his close family members and friends

      during this timeframe.     The bank records reveal that on several

      occasions JOSE HUIZAR's close family members made large cash

      deposits into their personal bank accounts around the time of


                                           4




SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358087
             *SUBJECT TO PROTECTIVE ORDER - Sensitive Materials*
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      JOSE HUIZAR's trips with WEI HUANG and RICKY ZHENG, and then

      used the proceeds from those same bank accounts to pay JOSE

      HUIZAR's credit card bills and to write checks to JOSE HUIZAR in

      large amounts (e.g., $10,000).      In other words, there is

      probable cause to believe that JOSE HUIZAR has used his close

      family member's bank accounts to launder bribe payments that he

      received from WEI HUANG and RICKY ZHENG.

           8.    I have also reviewed currency transaction reports

      generated by other casinos in Las Vegas, as well as flight

      records provided by Southwest Airlines, and although the FBI is

      still waiting to receive additional records from the casinos,

      together they indicate that WEI HUANG and JOSE HUIZAR have

      continued to take trips to Las Vegas together and have done so

      right up until May 2016, the date of the most recent flight

      records obtained by the FBI.      In fact, between April 2016 and

      May 2016 alone, records indicate that JOSE HUIZAR traveled to

      Las Vegas on three separate occasions and that he did so during

      the same time that WEI HUANG was known to have taken out close

      to $1 million in chips at the Cosmopolitan, Caesar's Palace, and

      the Wynn casinos.

            9.   However, it remains unclear what official acts JOSE

      HUIZAR has taken in exchange for the bribe and kickbacks

      payments he received from WEI HUANG.        I have reviewed many of

      the development projects in JOSE HUIZAR's District 14 in order

      to determine the influence JOSE HUIZAR had as a public official

      over WEI HUANG, RICKY ZHENG, SHENZHEN NEW WORLD GROUP, and the

      LA Hotel Downtown.     According to JOSE HUIZAR's website


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      {www.josehuizar.com) and several news articles written by the

      media, JOSE HUIZAR is the Chair of the City's Planning and Land

      Use Management (or "PLUM") Committee and has been at the

      forefront of expanding hotel and hospitality service in downtown

      Los Angeles. 3   There have been a series of mixed-use mega

      developments in the pipeline for downtown Los Angeles, and

      several of these developments are owned by Chinese-based

      companies, including SHENZHEN NEW WORLD INVESTMENT INC., the

      subsidiary of SHENZHEN NEW WORLD GROUP, the entity used to

      purchase the LA Hotel Downtown.      Accordingly, SHENZHEN NEW WORLD

      INVESTMENT INC. appears poised to benefit financially if the

      rapid expansion of downtown Los Angeles hotel and hospitality

      service continues.

           10.   As Chairman of the PLUM Committee, JOSE HUIZAR also

      worked closely with RAYMOND CHAN, the former General Manager of

      the Los Angeles Department of Building and Safety ("LADBS").

      LADBS has jurisdiction over the LA Hotel Downtown and has

      received several complaints, which I have reviewed, about the

      hotel between 2013 and 2015 through its Code Enforcement Bureau,

           3 As set forth below,   the PLUM Committee has extensive
      influence over the zoning in downtown Los Angeles.    In fact,
      according to JOSE HUIZAR's website, he has undertaken an
      initiative as the Chairman of the PLUM Committee to overhaul the
      City of Los Angeles'· ( "the City") entire zoning guidelines.  See
      infra 1 24. According to websites I have reviewed (lacity.org
      and www.lafla.org/pdf/PublicParticipation ENGLISH.pdf), the Los
      Angeles City Council holds public hearings on certain real
      estate developments that affect the City's general plan for
      development.  These hearings will typically take place before
      the PLUM committee, which will make a recommendation.    Following
      that hearing, there will be a vote before the full Council
      regarding whether to amend the general plan.



                                           6




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      including what one complainant described as a "serious

      violationn relating to the safety of lighting fixtures being

      used to remodel the hotel.      All of these complaints are listed

      as being closed out (i.e., completely resolved), yet LA City

      Investigator #1, someone who worked inside LADES, has reported

      that some of those complaints were closed out before the proper

      permits had been issued.

           11.   According to LA City Investigator #1, who has provided

      reliable information to the FBI in the past, an employee at

      LADES once told LA City Investigator #1 that the LA Hotel

      Downtown (owned by WEI HAUNG) often received complaints about

      its hotel and the treatment of its employees, but those

      complaints never went anywhere because the owner of the hotel

      was "friends" with RAYMOND CHAN.         This is corroborated by toll

      records, which show that between June 1, 2014 and August 7,

      2015, around the time the last of these complaints was closed

      out, RAYMOND CHAN exchanged 303 calls and 225 text messages with

      RICKY ZHENG, the Executive Director of SHENZHEN NEW WORLD GROUP.

           12.   RAYMOND CHAN'S contact with RICKY ZHENG and WEI HUANG

      is likely going to increase, because on May 27, 2016, Los

      Angeles Mayor Eric Garcetti appointed RAYMOND CHAN to become an

      Interim Deputy Mayor for Economic Development, including leading

      efforts to create jobs, attract investment, and make the city

      more business-friendly.      This will likely involve WEI HUANG, who

      has already made substantial economic investments in Los

      Angeles.   Indeed, on April 23, 2014, shortly before their first

      known trips to Las Vegas together, JOSE HUIZAR introduced a


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      resolution before the Los Angeles City Council recognizing WEI

      HUANG for his achievements and contributions to the Economy of

      District 14, a resolution the Los Angeles City Council

      ultimately adopted.

           13.     I have also reviewed toll records for the cellular

      telephone accounts belonging to JOSE HUIZAR, GEORGE ESPARZA, WEI

      HUANG, and RICKY ZHENG.     In summary, between June 2014 (around

      the time of JOSE HUIZAR's and WEI HUANG'S first known trip to

      the Palazzo together) and August 2015 (around the time of what

      is believed to be their last known trip to the Palazzo

      together), JOSE HUIZAR exchanged approximately 7 calls with WEI

      HUANG and approximately 143 calls with RICKY ZHENG, including 6

      on March 14, 2014, the day JOSE HUIZAR, WEI HUANG, and RICKY

      ZHENG were in Las Vegas together and the same day JOSE HUIZAR

      cashed out approximately $20,000 in chips that he did not

      purchase.     The toll records further show that RICKY ZHENG was in

      almost constant contact with JOSE HUIZAR's Special Assistant,

      GEORGE ESPARZA, and former LADES General Manager, RAYMOND CHAN,

      during this time period.      In fact, GEORGE ESPARZA and RAYMOND

      CHAN were among the top five people RICKY ZHENG, who is a

      businessman and not a public official, texted during this time

      period.


                            III. PRESERVATION REQUESTS

           On or about November 9, 2015, March 3, 2016 and June 8,

      2016, the FBI sent the PROVIDER a preservation letter requesting

      that information associated with the SUBJECT ACCOUNT be


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      preserved for 90 days pursuant to 18 U.S.C. § 2703(f).          Other

      than what has been described herein, to my knowledge the United

      States has not attempted to obtain the contents of the SUBJECT

      ACCOUNT by other means.


                           IV.   STATEMENT OF PROBABLE CAUSE

      JOSE HUIZAR

           14.    On or about June 16, 2016, I reviewed the website

      www.josehuizar.com and learned, among other things, the

      following about JOSE HUIZAR:

                  a.      JOSE HUIZAR was first elected to the Los Angeles

      City Council's District 14 in 2005 and was overwhelmingly re-

      elected in 2007, 2011, and in what will be his final term, 2015. 4

                  b.      JOSE HUIZAR received a Bachelor of Arts degree

      from the University of California, Berkley, a Master's Degree in

      Public Affairs and Urban Planning from Princeton University, and

      a Juris Doctorate from UCLA School of Law.

                     C.   Prior to joining the City Council, JOSE HUIZAR

      served as a member and President of the Los Angeles Unified

      School District's Board of Education.        He is married to Richelle

      Rios with whom he has four children.

                     d.   JOSE HUIZAR currently serves as Chair of the

      Planning   &    Land Use Management (PLUM) committee, where he is

      working directly with the City's Planning Department to overhaul

           4 On or aboutJune 23,2016, I confirmed that the City of Los
      Angeles received more than $10,000 per fiscal year in funds from
      the United States in 2013, 2014, 2015 and 2016. - - - - - -



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      the City's zoning code guidelines.       JOSE HUIZAR has been at the

      forefront of expanding hotel and hospitality service in downtown

      Los Angeles and has worked closely with various entities to

      promote and encourage new businesses to open in downtown Los

      Angeles.

      WEI HUANG, RICKY ZHENG    &   SHENZHEN NEW WORLD GROUP

           15.   On or about June 16, 2016, I reviewed the website

      www.culturalnews.com, as well as law enforcement databases, and

      learned, among other things, the following about WEI HUANG,

      RICKY ZHENG, and SHENZHEN NEW WORLD GROUP:

                 a.    WEI HUANG is the Chairman and President of

      SHENZHEN NEW WORLD GROUP, one of China's most influential

      development companies.

                 b.    RICKY ZHENG is the Executive Director of SHENZHEN

      NEW WORLD GROUP.

                 c.    SHENZHEN NEW WORLD COMPANY is headquartered in

      Shenzhen China and is a multi-faceted, privately-held enterprise

      specializing in commercial and real estate development.           Under

      the name of SHENZHEN NEW WORLD GROUP, the company has holdings

      in hotels, retail, information technology, trade, newspaper

      publishing and restaurants.       During the past decade, it has

      invested more than $1.42 billion in projects worldwide.

                 d.    In or about March 2010, SHENZHEN NEW WORLD

      COMPANY purchased the Marriott Downtown Los Angeles, a 469-room




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      hotel located in downtown Los Angeles (District 14) for $90

      million, which it operates as the LA Hotel Downtown. 5

      THE TRIPS TO THE PALAZZO IN LAS VEGAS

              16.   On or about July 20, 2015, Jonathan Solomon, a Senior

      Vice President and Global Chief Compliance Officer for the Las

      Vegas Sands Corporation, contacted the FBI's Los Angeles Field

      Office to report suspicious activity between JOSE HUIZAR and WEI

      HUANG at the Palazzo Hotel ("the Palazzo").

              17.   On or about September 2, 2015, FBI Special Agent

      Teresa Tampubolon traveled to Las Vegas, Nevada to meet with Mr.

      Solomon and to review gambling records and surveillance footage

      from the Palazzo.      Special Agent Teresa Tampubolon also

      participated in several interviews of employees who worked at

      the Palazzo and at the Las Vegas Sands Corporation.          During her

      trip Special Agent Teresa Tampubolon learned, among other

      things, the following:

                    a.   According to Jonathan Bell, the Vice President of

      Cage and Credit Operations at the hotel, WEI HUANG made a total

      of five trips to the Palazzo between June 2014 and September

      2015:

                         #   ARRIVAL           DEPARTURE

                         1    6/14/14           6/15/14


           5 Based on my training and experience,  I know that hotels of
      this size operate in interstate commerce.   For example, the LA
      Hotel Downtown offers its rooms to international and out-of-
      state travelers on websites such as Priceline and boasts having
      a restaurant, bar, and gift shop, which I know are often stocked
      with items purchased internationally and from out-of-state.



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                      2       8/24/14          8/25/14

                      3       3/13/15          3/14/15

                      4       3/28/15          3/30/15

                      5        7/7/15          7/8/15



      All of WEI HUANG'S trips to the hotel overlapped with JOSE

      HUIZAR's presence and/or gaming activity at the hotel.          WEI

      HUANG reserved for each of these trips what the hotel described

      as a "Presidential Suite," a luxurious room that the hotel

      estimated to cost approximately $7,000 per night.         The suite,

      which is almost 7,000 square feet in size, can include amenities

      such as personalized butler service for the guests.          It can also

      be given as a "comp" to high-end players such as WEI HUANG

      because of how much money they spend on gambling at the Palazzo.

      See Ex. A. 6

                 b.       According to hotel records, WEI HUANG has

      received comps valuing $6,025,246 from the Palazzo and has lost

      approximately $12,964,555 gambling there.          As a result, WEI

      HUANG was permitted to gamble in high-end areas of the Palazzo

      such as the "Paiza Club," a gambling area located on the 50th

      floor of the hotel that is accessible only to players who have


           6 In addition to the trip information provided to Special

      Agent Tampubolon by Jonathan Bell, I determined through my own
      review of flight and hotel records there was an additional trip
      to Las Vegas from June 7, 2014 to June 8, 2014, because
      Southwest Airline travel records show JOSE HUIZAR traveled on
      those dates to and from Las Vegas and that his trip overlapped
      with a time period when WEI HUANG was known to be in Las Vegas.



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      $300,000 in front money or credit at the Palazzo.         See Ex. B.

      Although there are no records indicating whether JOSE HUIZAR

      stayed in the Presidential Suite reserved by WEI HUANG on the

      same nights he was engaged in gaming activities at the hotel, no

      rooms were separately reserved at the hotel under JOSE HUIZAR's

      name during his five visits to the Palazzo.

                  c.    Moreover, on three of the five trips, JOSE HUIZAR

      flew with WEI HUANG on the hotel's private jet.         See Ex. C.     The

      first time, JOSS HUIZAR and his wife accompanied WEI HUANG on a

      returning flight from Las Vegas to Los Angeles.         The second

      time, JOSE HUIZAR accompanied WEI HUANG on a returning flight

      from Las Vegas to Los Angeles.       The third time, JOSE HUIZAR and

      GEORGE ESPARZA, JOSE HUIZAR's Special Assistant at the City

      Council, accompanied WEI HUANG on the hotel's private jet to and

      from Las Vegas.

                  d.    Mr. Bell reviewed the hotel's gambling records

      and determined that over the course of the five trips, JOSE

      HUIZAR's net chip "buy-in" was approximately $79,100, which

      represents the value of the chips he used in connection with his

      gaming activity.     Although JOSE HUIZAR's buy-in was

      approximately $79,100, his total lifetime "drop" at the hotel

      was $0.    In other words, there was no indication that JOSE

      HUIZAR purchased the chips with which he was gambling at the

      hotel.    Of his approximately $79,100 chip buy-in, JOSE HUIZAR

      "cashed-out"     (i.e., took home as cash) a total of $36,500.

                  e.    Mr. Bell determined that during the first trip,

      JOSE HUIZAR cashed out approximately $3,000 and attempted to


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      cash out another $6,300 just 90 minutes later.         The second

      transaction was denied because it could not be verified that the

      chips belonged to JOSE HUIZAR.       During the second trip, JOSE

      HUIZAR cashed out $5,000 and an additional $8,500 the following

      day.       During the third trip, JOSE HUIZAR cashed out $20,000.

      JOSE HUIZAR did not cash out any chips during his fourth and

      fifth trips to the Palazzo. 7

                     f.   JOSE HUIZAR's gaming activities came to the

      attention of Mr. Bell during his fifth and final trip to the

      Palazzo.       Mr. Bell was notified that JOSE HUIZAR was going to be

      a guest of WEI HUANG and would be accompanying WEI HUANG on the

      hotel's private jet.       Mr. Bell and his staff researched JOSE

      HUIZAR and discovered that he was a member of the Los Angeles

      City Council, which made him what the hotel referred to as a

      Politically Exposed Person ("PEP").       This meant JOSE HUIZAR had

      to fill out certain paperwork in order to participate in gaming

      activities at the hotel.       The paperwork was designed to identify

      JOSE HUIZAR's source of wealth and demonstrate that he had a

      suitable independent source of income with which to gamble and

      was not using government funds to gamble.        Since Mr. Bell and

      his staff identified JOSE HUIZAR as a PEP before he arrived at

      the Palazzo, they entered JOSE HUIZAR's name into the hotel's



             On or about June 23, 2016, I reviewed the California Forms
             7

      700, Statement of Economic Interests and the Financial
      Disclosure Statement Forms 60 that JOSE HUIZAR submitted to the
      Fair Political Practices Commission (the "FPPC") for the years
      2014 and 2015, and observed that he did not disclose any of this
      money on his forms, not as a gift or as income.



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      computer system to alert them when JOSE HUIZAR attempted to use

      his player's card at the hotel.

                 g.    Stephen Fryson, who has worked in the gambling

      industry for approximately 16 years and has extensive experience

      observing, reviewing, and classifying gaming activity, was

      working as the hotel's Evening Shift Manager of Table Games on

      July 7, 2015, the first night of JOSE HUIZAR's fifth trip to the

      Palazzo with WEI HUANG.     Mr. Fryson was in charge of all dealers

      and pit managers that evening and helped set up a playing area

      for WEI HUANG in "Parlor 8," a salon reserved for high-end

      players who often bet with $25,000 to $100,000 chips.          The hotel

      closely monitors the gaming activity of the players in Parlor 8.

                 h.    Mr. Fryson observed some of WEI HUANG'S gaming

      activity that evening and positively identified JOSE HUIZAR as

      one of WEI HUANG'S guests.      According to gaming records and Mr.

      Fryson's staff, WEI HUANG passed JOSE HUIZAR $65,000 in gaming

      chips on July 7, 2015.

                 i.    Mr. Fryson explained that there are two ways to

      pass chips: pushing chips and sharing chips.         Pushing chips

      occurs when a player purchases chips with his or her own money

      and "pushes" a portion of those chips to someone to use to

      gamble.   However, once the other person is done gambling, all of

      the chips are returned to the player who originally purchased

      them, who then cashes out the chips and pockets the winnings.

      When this happens, only the player who purchased the chips is

      being rated by the hotel.      On the other hand, sharing chips

      occurs when a player purchases chips with his or her own money


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      and "shares" a portion of those chips with someone else, but

      never reclaims those chips as their own.        Instead, the person to

      whom they were given can cash out the chips and keep the

      winnings for himself.     The play of both players is rated by the

      hotel whenever the chips are being shared in this manner.

                  j.    Mr. Fryson said WEI HUANG shared the $65,000 in

      chips with JOSE HUIZAR in Parlor 8, he did not push them.          Mr.

      Fryson said his staff in Parlor 8 confirmed this and began

      rating JOSE HUIZAR's play while in Parlor 8 using a player

      rating card.     At one point during the evening, WEI HUANG and his

      guests decided to leave Parlor 8 and take a break from gaming.

      WEI HUANG and his guests, including JOSE HUIZAR, left their

      gaming chips at the table in Parlor 8, so they could continue
      playing when they returned.      Pit Manager Grace Soo confirmed

      that JOSE HUIZAR left approximately $17,800 in chips at the

      table.

                  k.    WEI HUANG went to eat dinner at the Paiza Club,

      but JOSE HUIZAR went to the main floor of the Palazzo and began

      gambling with another guest of WEI HUANG. 8       JOSE HUIZAR sat down

      at one of the gambling tables and handed the dealer his player's

      card.    The dealer swiped the card and saw the alert that Mr.

      Bell and his staff had entered into the hotel's computer system

           8 SA Teresa Tampubolon reviewed the surveillance footage

      from the hotel that night and determined that JOSE HUIZAR went
      to the main floor of the hotel to gamble with RICKY ZHENG and
      GEORGE ESPARZA.  GEORGE ESPARZA was seated right next to JOSE
      HUIZAR while WEI HUANG was sharing chips with JOSE HUIZAR in
      Parlor 8 and when Ms. Flynn confronted JOSE HUIZAR about the PEP
      paperwork on the casino floor.



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      earlier that day after learning that JOSE HUIZAR was a PEP.             Mr.

      Fryson was notified and asked Kathy Flynn, a Senior Credit

      Executive at the hotel, to meet with JOSE HUIZAR on the casino

      floor and have him fill out the PEP paperwork.

                  1.    Ms. Flynn told JOSE HUIZAR that she knew he was

      associated with his local city council and that he needed to

      fill out the PEP paperwork in order to continue gambling at the

      hotel.     JOSE HUIZAR looked over the PEP paperwork twice and

      refused to fill out the paperwork both times.         Although Ms.

      Flynn did not feel like JOSE HUIZAR was agitated by her request

      to complete the paperwork, she did feel like he was trying to

      "stay under the radar."

                  m.    Since JOSE HUIZAR did not fill out the paperwork,

      Mr. Fryson escorted him out of the hotel's gaming area.           Mr.

      Fryson allowed JOSE HUIZAR's friend (whom Special Agent Teresa

      Tampubolon later identified as GEORGE ESPARZA) to cash out

      approximately $50 in chips as they were leaving the casino

      floor.

                   n.   According to Pit Manager Grace Soo, when WEI

      HUANG returned to Parlor 8 after getting something to eat, he

      played the $17,800 JOSE HUIZAR had left at the table before

      being forced to leave the gaming area of the Palazzo.

      ANALYSIS OF FINANCIAL RECORDS

           18.     I have reviewed financial records belonging to JOSE

      HUIZAR and his close family and friends for the last several

      years, including around the time of JOSE HUIZAR's trips to the

      Palazzo with WEI HUANG and RICKY ZHENG.        For example, I reviewed


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      financial records belonging to JOSE HUIZAR, his mother, Isidra

      Huizar, his brother, Salvador Huizar, and his wife, Richelle

      Rios.       In summary, my review of these financial records has

      revealed that JOSE HUIZAR's mother and brother made several

      large cash deposits into their bank accounts and then used the

      proceeds from those bank accounts to pay JOSE HUIZAR's debts and

      to write checks to JOSE HUIZAR in large amounts (e.g., $10,000).

      Based on my training and experience, and all of the evidence I

      have reviewed in this case, it appears JOSE HUIZAR has used

      these bank accounts to launder bribe and kickbacks payments he

      received from WEI HUANG and RICKY ZHENG while in Las Vegas.

              19.    Below is a list of several financial transactions that

      took place around the time of JOSE HUIZAR's five trips to the

      Palazzo with WEI HUANG and RICKY ZHENG.        In total, around the

      time JOSE HUIZAR cashed out approximately $36,500 in chips at

      the Palazzo, his close family members deposited approximately

      $29,000 in cash into their bank accounts, and transferred

      approximately $35,132.96 directly or indirectly to JOSE HUIZAR.          9




        Date                   Event                Amount          Source
                    JOSE HUIZAR Cashes Out
       6/14/14      Palazzo Trip #1                 $3,000          Palazzo
                    JOSE HUIZAR's Failed Cash
       6/14/14      Out Palazzo Trip #1             $6,500            n/a
                    JOSE HUIZAR deposits check                Salvador's
       8/4/14       into his checking account      $10,000    checking account

             On or about June 23,2016, I spoke with David Richter from
              9

      Citi Bank, Rebecca LNU from Bank of America, and Marissa LNU
      from Wells Fargo and confirmed that the bank accounts belonging
      to JOSE HUIZAR, Isidra Huizar, and Salvador Huizar are insured
      by the Federal Deposit Insurance Corporation (FDIC).



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                    ending in #0843                           ending in #3900

                    JOSE HUIZAR Cashes Out
       8/24/14      Palazzo Trip #2                 $5,000         Palazzo
                    JOSE HUIZAR Cashes Out
       8/25/14      Palazzo Trip #2                 $8,500         Palazzo
                    JOSE HUIZAR deposits check                Salvador's
                    into his checking account                 checking account
       8/29/14                                     $10,000
                    ending in #0843                           ending in
                                                              #3900
                    Isidra deposits cash into
       3/12/15      her checking account ending    $10,000        $100 bills
                    in #2634
                    JOSE HUIZAR deposits check                Isidra's
       3/12/15      into his checking account      $10,000    checking account
                    endinq in #0843                           endinq in #2634
                    JOSE HUIZAR Cashes Out
       3/13/15      Palazzo Trip #3                $20,000         Palazzo
                    JOSE HUIZAR No Cash Out
       3/28/15      Palazzo Trip #4                   $0              n/a
                    Isidra deposits cash into
       4/8/15       her checking account ending    $10,000        $100 bills
                    in #2634
                    JOSE HUIZAR Leaves Chips on
       7/7/15       Table Palazzo Trip #5          $17,800            n/a
                    Isidra deposits cash into
       7/13/15      her checking account ending     $9,000        $100 bills
                    in #2634
                    Isidra writes check to pay                Isidra's
       7/13/15      off JOSE HUIZAR's credit      $2,492.45   checking account
                    card endinq in #5798                      endinq in #2634
                    Isidra writes check to pay                Isidra's
       7/14/15      JOSE HUIZAR's LA County       $2,640.51   checking account
                    Property Taxes                            endinq in #2634


              20.   I examined the bank account records we obtained for

      JOSE HUIZAR to see if there were any cash withdrawals or other

      financial transactions shortly before or during his trips to the

      Palazzo that would indicate JOSE HUIZAR indirectly paid for the

      chips he used to gamble and cash out at the Palazzo.          I found

      none.




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           21.       I also reviewed financial transactions that were not

      as close in time to JOSE HUIZAR's trips to Las Vegas, but which

      show a similar trend of JOSE HUIZAR's close family member (his

      mother) making large cash deposits into her bank account and

      then using the proceeds from that same bank account to pay JOSE

      HUIZAR's credit card bills and to write checks to JOSE HUIZAR in

      large amounts (e.g., $10,000).       In total, JOSE HUIZAR's mother

      deposited approximately $30,200 in $100 bills into her bank

      account and transferred approximately $39,900 directly or

      indirectly to JOSE HUIZAR.       Based on my review of Isidra

      Huizar's checking account, it appears that she is retired and

      that her only source of income is the $2,446.76 she receives

      each month from Social Security, Steelworkers Pension and

      Butcher    &   Provis Pension.


         Date                   Event               Amount         Source
                     JOSE HUIZAR deposits check               Isidra's
        1/8/14       into his checking account      $15,000   checking account
                     ending in #0843                          ending in #2634
                     JOSE HUIZAR deposits check               Isidra's
        4/8/14       into his checking account      $5,000    checking account
                     ending in #0843                          ending in #2634
                     Isidra deposits cash into
       11/03/14      her checking account ending    $5,000        $100 bills
                     in #2634
                     JOSE HUIZAR deposits check               Isidra's
       11/18/14      into his checking account      $4,900    checking account
                     ending in #0843                          ending in #2634
                     Isidra deposits cash into
       12/3/14       her checking account ending    $7,000        $100 bills
                     in #2634
                     Isidra writes check to pay               Isidra's
       12/11/14      off JOSE HUIZAR's credit       $7,000    checking account
                     card ending in #5798                     ending in #2634



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                  Isidra deposits cash into
       4/22/15    her checking account ending       $2,300        $100 bills
                  in #2634
                  Isidra makes electronic
                                                              Isidra's
                  payment to pay off JOSE
       4/23/15                                      $8,000    checking account
                  HUIZAR's credit card ending
                                                              ending in #2634
                  in#
                  Isidra deposits cash into
        1/4/16    her checking account ending       $2,900        $100 bills
                  in #2634
                  Isidra deposits cash into
       1/25/16    her checking account ending       $13,000       $100 bills
                  in #2634

      ADDITIONAL TRIPS TO LAS VEGAS

           22.    On June 10, 2016, I reviewed flight records produced

      by Southwest Airlines relating to JOSE HUIZAR's travel to Las

      Vegas between April 2016 and May 2016.        According to those

      records, JOSE HUIZAR flew to Las Vegas on Southwest Airlines on

      April 30, 2016.     I know from transaction reports generated by
      the Cosmopolitan Hotel and Casino and from toll records that

      JOSE HUIZAR flew to Las Vegas one day after WEI HUANG purchased

      approximately $25,000 in chips from the Cosmopolitan and one day

      after WEI HUANG exchanged five telephone calls with JOSE HUIZAR.

            23.   Shortly thereafter, JOSE HUIZAR made two more trips to

      Las Vegas that appeared to overlap with trips made by WEI HUANG.

      According to transaction reports, WEI HUANG was back in bas

      Vegas on May 5 and 6, 2016, during which time he purchased over

      $400,000 in chips from Caesar's Palace Hotel and Casino.

      According to southwest Airlines' flight records, on the last day

      WEI HUANG was known to be at Caesar's Palace, May 6, 2016, JOSE

      HUIZAR flew back from Las Vegas to Los Angeles.          Then, on May 15

      and 16, 2016, WEI HUANG returned to Las Vegas and, according to



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      transaction reports, purchased over $50,000 in chips from the

      Wynn Hotel and Casino.     According to Southwest Airlines' flight

      records, on the last day WEI HUANG was known to be at the Wynn,

      May 16, 2016, JOSE HUIZAR flew from Las Vegas back to Burbank,

      California.

      OFFICIAL ACTS

           24.   As stated above, without being privy to the actual

      communications between the individuals named herein, it is

      unclear what official acts JOSE HUIZAR has performed in exchange

      for the payments he received from WEI HUANG.         However, based on

      my training and experience, discussions with other FBI agents,

      as well as my review of all the evidence in this case, I believe

      the payments from WEI HUANG to JOSE HUIZAR are bribes and/or

      kickbacks because JOSE HUIZAR failed to disclose them on his

      financial disclosure Form 700, and because it appears JOSE

      HUIZAR is concealing and laundering those payments through close

      family members, who are making large cash deposits and then

      funneling that money directly or indirectly to JOSE HUIZAR.

           25.      As stated above, JOSE HUIZAR is the Chairman of the

      PLUM Committee for the City Council.        The PLUM Committee has

      extensive influence over the zoning in downtown Los Angeles.            In

      fact, according to JOSE HUIZAR's website, he has undertaken an

      initiative as the Chairman of the PLUM Committee to overhaul the

      City of Los Angeles'     ("the City") entire zoning guidelines.

           26.   As stated above, JOSE HUIZAR also worked very closely

      with RAYMOND CHAN, the former General Manager of LADBS.           For

      example, according to JOSE HUIZAR's website, in 2008 he launched


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     an initiative to revitalize certain parts of downtown Los

     Angeles called "Bring Back Broadway" and worked closely with

     RAYMOND CHAN in furtherance of this initiative, who is also on

      its Board of Trustees.

           27.    On or about October 21, 2015, LA City Investigator #1,

      someone who worked for LADBS until on or about June 24, 2016,

      provided the FBI with several customer complaints that had been

      filed against the LA Hotel Downtown since SHENZHEN NEW WORLD

      GROUP bought the hotel in 2010.      I reviewed those complaints and

      learned the following:

                  a.   On or about May 29, 2013, Complainant #1

      contacted the LADBS Code Enforcement Bureau and complained that

      the LA Hotel Downtown had committed a "serious violation"

      relating to an electrical safety issue.        Complainant #1 pointed

      out that the hotel was under renovation and restroom mirror

      light fixtures were being installed without the proper "UL"

      certification and were "Non-Wet" location approved fixtures.

      Complainant #1 insisted that it was a "cover up" and said even

      the chandeliers in the ballrooms were "Non UL."         Complainant #1

      claimed that someone was using counterfeit UL stickers and was

      installing fixtures that were outside of the original plan

      drawings.

                  b.   On or about May 31, 2013, Complainant #2

      contacted LADES Code Enforcement and lodged a similar complaint

      about the light fixtures.      Complainant #2 alleged that the "plan

      checker" was not doing his job and requested LADBS have its plan

      checker "review and address these issues going on at the job


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      site."   That same day, someone else, Complainant #3, contacted

      LADBS and complained about essentially the same things.

      Complainant #3 said the fixtures were being imported directly

      from China and were already creating electrical shortages.

      Complainant #3 also complained that the hotel manager was

      "asking [them] to perform certain tasks [they were] not at all

      comfortable [with doing] at [that] time."

                 c.    On or about June 5, 2015, Complainant #4

      contacted LADBS Code Enforcement and complained that the hotel

      was installing new laundry equipment, which were heavy duty

      commercial cleaning machines.      Complainant #4 said the machines

      required walls to be moved, concrete and sewer connections to be

      altered, and possibly a gas driven iron/press to be connected.

      Complaintant #4described this as creating a "serious potential

      for safety compromises."

                  d.   LADBS Inspector #1 responded to the June 5, 2015

      complaint on or about June 20, 2015 and observed violations when

      he got to the hotel.     LADBS Inspector #1 issued an order related

      to the electrical and plumbing at the hotel and ordered the

      hotel to comply by June 24, 2015.        According to LADES Inspector

      #1, by July 24, 2015 the hotel had obtained "all required

      plumbing permits and approvals" and "all required electrical

      permits and approvals."     With respect to the hotel remodeling

      the basement, LADBS Inspector #1 advised the hotel to either:

      (1) demolish and remove all construction done without the

      required permits,    (2) restore building to its original approved




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      condition, or (3) obtain the required permits to do the work and

      allow for proper inspection.

           28.    On or about May 9, 2016, I spoke with LA City

      Investigator #1 about the LADBS complaints set forth above to

      determine whether the 2013 and 2015 complaints against the LA

      Hotel Downtown were properly resolved.       According to LA City

      Investigator #1, on or about May 26, 2016, he went with LADBS

      Inspector #2 to the LA Hotel Downtown to examine the work

      mentioned in the 2013 and 2015 complaints.        Upon entering the

      hotel, LADES Inspector #2 commented to LA City Investigator #1

      that the LA Hotel Downtown was where LADES had held its 2015

      Christmas Party.

           29.    LADB~ Inspector #2 observed that the new laundry

      equipment and heavy duty commercial cleaning machines referenced

      in the 2015 complaint were still in place.        LA City Investigator

      #1 and LADBS Inspector #2 did not feel like they had the

      expertise to determine whether the complaints filed in 2013

      about the light fixtures had been properly corrected and

      resolved.     LA City Investigator #1 and LADBS Inspector #2 did

      determine that the proper permits had been obtained for the work

      referenced in the 2015 complaint, but those permits were not

      obtained until November 3, 2015, several months after July 2015,

      when the complaint was closed out on the basis that the hotel

      had purportedly obtained "all required plumbing permits and

      approvals."

           30.    According to LA City Investigator #1, the LA Downtown

      Hotel did have several other permits issued and pending around


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      this time period and said it was possible this may have just

      been an oversight of some sort.      However, an employee at LADBS

      once told LA City Investigator #1 that the LA Hotel Downtown was

      often receiving complaints about its hotel and the treatment of

      its employees, but those complaints never went anywhere because

      the owner of the hotel was "friends" with RAYMOND CHAN.          In

      fact, according to toll records, between June 1, 2014 and August

      7, 2015, around the time this complaint was resolved, RAYMOND

      CHAN exchanged 303 calls and 225 text messages with RICKY ZHENG,

      the Executive Director of SHENZHEN NEW WORLD GROUP.

           31.    Moreover, RAYMOND CHAN has now become directly

      involved with business development in Los Angeles as Interim

      Deputy Mayor, where is responsible for overseeing economic

      development in Los Angeles, including leading efforts to create

      jobs, attract investment, and make the city more business

      friendly.    This will likely entail direct contact with

      businessmen like WEI HUANG, who has made substantial economic

      investments in the City of Los Angeles.        Indeed, on April 23,

      2014, shortly before their first known trip to the Palazzo, JOSE

      HUIZAR introduced a resolution before the Los Angeles City

      Council recognizing WEI HUANG for his achievements and

      contributions to the economy of District 14, which the Los

      Angeles City Council ultimately adopted.

      TOLL ANALYSIS

           32.    I have reviewed toll records for the cellular

      telephone accounts belonging to JOSE HUIZAR, GEORGE ESPARZA, WEI

      HUANG, and RICKY ZHENG.     Between June 2014 (around the time of


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     the first trip to Palazzo) and August 2015 (around the time of

     the last trip to Palazzo), JOSE HUIZAR exchanged approximately 7

     calls with WEI HUANG and approximately 143 calls with RICKY

     ZHENG, including 6 on March 14, 2014, the day JOSE HUIZAR, WEI

     HUANG, and RICKY ZHENG were in Las Vegas together and JOSE

     HUIZAR cashed out approximately $20,000 in chips.

           33.   These toll records further show that RICKY ZHENG was

      in almost constant contact with JOSE HUIZAR's Special Assistant,

     GEORGE ESPARZA, wno accompanied JOSE HUIZAR on one of his trips

      to Palazzo with WEI HUANG and RICKY ZHENG, and that RICKY ZHENG

      had similar contact with RAYMOND CHAN, someone JOSE HUIZAR

      worked closing with in overseeing hotel development in downtown

      Los Angeles.   In fact, GEORGE ESPARZA and RAYMOND CHAN, two

      public officials with close ties to JOSE HUIZAR, were among the

      top five people RICKY ZHENG texted during this time period.

      Based on my training and experience and knowledge of this

      investigation, the interplay and frequency of these

      communications between these specific individuals further

      support my belief that WEI HUANG has given and continues to give

      bribes and kickbacks to JOSE HUIZAR in return for official acts

      that benefit WEI HUANG and his business interests in downtown

      Los Angeles, bribes and kickbacks which JOSE HUIZAR has

      attempted to conceal by failing to disclose them on his

      financial disclosure forms with the state and by laundering them

      through his close family members' bank accounts.

           34.   According to recent toll records, JOSE HUIZAR and WEI

      HUANG have remained in contact with each other, including around


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      the times of their trips to Las Vegas.       Specifically, JOSE

      HUIZAR and WEI HUANG exchanged 10 calls between April 25, 2016

      and May 20, 2016.

      USE OF THE SUBJECT ACCOUNT

           35.    There is probable cause to believe that JOSE HUIZAR is

      using the SUBJECT ACCOUNT in connection with and in furtherance

      of the bribery and money laundering schemes and that evidence of

      those crimes will be found in the SUBJECT ACCOUNT.         According to

      Southwest Airline's records, JOSE HUIZAR used the SUBJECT

      ACCOUNT in connection with reserving flights from Las Vegas on

      March 15, 2015, May 01, 2015, May 13, 2015, May 6, 2016 and May

      16, 2016.     As set forth above, May 5, 2016, May 6, 2016, May 15,

      2016 and May 16, 2016 are the same days hotel records indicate

      that WEI HUANG was in Las Vegas and purchased over $400,000 in

      chips from Caesar's Palace and $50,000 in chips from the Wynn.

           36.    Moreover, based on the evidence to date, it appears

      that JOSE HUIZAR's trips to Las Vegas, where WEI HUANG provides

      him tens of thousands of dollars' worth of chips, are integral

      to the suspected scheme to provide bribes and kickbacks to JOSE

      HUIZAR in exchange for official acts that benefit WEI HUANG and

      his substantial economic interests in Downtown Los Angeles.

      Thus, JOSE HUIZAR's use of the SUBJECT ACCOUNT to arrange for

      these trips establishes the likelihood that the content of these

      messages will provide evidence related to the bribery and money

      laundering schemes.     This evidence could include, but is not

      limited to:    (1) the dates and times of other trips to Las Vegas

      with WEI HUANG;    (2) other luxury trips that correspond to trips


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SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358111
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     with WEI HUANG;     (3) details of other arrangements made for such

      trips, including lodging, transportation, etc.        (or the lack of

      such arrangements, which could suggest that someone else is

     providing them for JOSE HUIZAR);       (4) communications identifying

      other individuals and possible coconspirators related to these

      trips; and (5) e-mail confirmations that JOSE HUIZAR utilized

      the various services provided him during these luxury trips.

           37.    Further, reviewing the content of the SUBJECT ACCOUNT

      will provide investigators opportunities to further investigate

      these luxury trips, namely, by providing: geographical

      locations; the persons/co-conspirators involved in these luxury

      trips; an identifiable pattern of these luxury trips; and dates

      and locations of future luxury trips.        Further investigation,

      such as surveillance, will allow for more specific investigatory
      tools that will enhance investigators' ability to learn the

      precise nature of the bribery and money laundering schemes (or,

      to the contrary, provide legitimate explanations for these

      luxury trips and the associations and interactions between the

      named individuals).


                       V.   BACKGROUND ON E-MAIL AND SOCIAL
                            MEDIA ACCOUNTS AND THE PROVIDER

           38.     In my training and experience, and discussions with

      senior agents, I have learned that providers of e-mail and/or

      social media services offer a variety of online services to the

      public.     Providers, like PROVIDER, allow subscribers to obtain

      accounts like a SUBJECT ACCOUNT.         Subscribers obtain an account



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     by registering with the PROVIDER.         During the registration

     process, the PROVIDER asks subscribers to provide basic personal

      information.    Therefore, the computers of the PROVIDER are

      likely to contain stored electronic communications and

      information concerning subscribers and their use of the

     PROVIDER's services, such as account access information, e-mail

     or message transaction information, and account application

     information.     In my training and experience, such information

     may constitute evidence of the crimes under investigation

     because the information can be used to identify the user(s) of a

     SUBJECT ACCOUNT.

           39.    In my training and experience, and discussions with

     senior agents, e-mail and social media providers generally ask

     their subscribers to provide certain personal identifying

      information when registering for an e-mail or social media

     account.     Such information can include the subscriber's full

     name, physical address, telephone numbers and other identifiers,

     alternative e-mail addresses, and, for paying subscribers, means

     and source of payment (including any credit or bank account

     number).     In my training and experience, such information may

      constitute evidence of the crimes under investigation because

      the information can be used to identify the user(s) of a SUBJECT

      ACCOUNT.
           1.      In my training and experience, and discussions with

      senior agents, providers of e-mail and social media often

     maintain have access to and store information related to the
      location of the users of accounts they service.         That


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SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358113
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      information may be obtained by the provider in a number of ways.

      For example, a user may access the provider's services by

      running an application on the user's phone or mobile device,

     which application has access to the location information

      residing on the phone or mobile device, such as Global

      Positioning System (GPS) information.       It may also be accessible

      through "check-in" features that some providers offer that

      allows users to transmit or display their location to their

      "friends" or "acquaintances" via the provider.

           2.     In my training and experience, and discussions with

      senior agents, e-mail and social media providers typically

      retain certain transactional information about the creation and

      use of each account on their systems.       This information can

      include the date on which the account was created, the length of

      service, records of login (i.e., session) times and durations,

      the types of service utilized, the status of the account

      (including whether the account is inactive or closed), the

      methods used to connect to the account (such as logging into the

      account via the provider's website), and other log files that

      reflect usage of the account.      In addition, e-mail and social

      media providers often have records of the Internet Protocol

      ("IP") address used to register the account and the IP addresses

      associated with particular logins to the account.          Because every

      device that connects to the Internet must use an IP address, IP

      address information can help to identify which computers or

      other devices were used to access a SUBJECT ACCOUNT.




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SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358114
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           3.     In my training and experience, and discussions with

      senior agents, e-mail and social media account users will

      sometimes communicate directly with the service provider about

      issues relating to the account, such as technical problems,

      billing inquiries, or complaints from other users.         Providers of

      e-mails and social media services typically retain records about

      such communications, including records of contacts between the

      user and the provider's support services, as well records of any

      actions taken by the provider or user as a result of the

      communications.     In my training and experience, such information

      may constitute evidence of the crimes under investigation

      because the information can be used to identify the user(s) of a

      SUBJECT ACCOUNT.

           4.      I know from my training and experience, and

      discussions with senior agents, that the complete contents of an

      account may be important to establishing the actual user who has

      dominion and control of that account at a given time.          Accounts

      may be registered in false names or screen names from anywhere

      in the world with little to no verification by the service

      provider.     They may also be used by multiple people.       Given the

      ease with which accounts may be created under aliases, and the

      rarity with which law enforcement has eyewitness testimony about

      a defendant's use of an account, investigators often have to

      rely on circumstantial evidence to show that an individual was

      the actual user of a particular account.        Only by piecing

      together information contained in the contents of an account may

      an investigator establish who the actual user of an account was.


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SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358115
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     Often those pieces will come from a time period before the

      account was used in the criminal activity.        Limiting the scope

      of the search would, in some instances, prevent the government

      from identifying the true user of the account and, in other

      instances, may not provide a defendant with sufficient

      information to identify other users of the account.         Therefore,

      the contents of a given account, including the e-mail addresses

      or account identifiers and messages sent to that account, often

      provides important evidence regarding the actual user's dominion

      and control of that account.       For the purpose of searching for

      content demonstrating the actual user(s) of a SUBJECT ACCOUNT, I

      am requesting a warrant requiring the PROVIDER to turn over all

      information associated with a SUBJECT ACCOUNT with the date

      restriction included in Attachment B for review by the search

      team.

              5.     Relatedly, the government must be allowed to determine

      whether other individuals had access to a SUBJECT ACCOUNT.           If

      the government were constrained to review only a small

      subsection of an account, that small subsection might give the

      misleading impression that only a single user had access to the

      account.

              6.      I also know based on my training and experience, and

      discussions with senior agents, that criminals discussing their

      criminal activity may use slang, short forms (abbreviated words

      or phrases such as "lol" to express "laugh out loud"), or

      codewords (which require entire strings or series of

      conversations to determine their true meaning) when discussing


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SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                        Casino 0358116
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      their crimes.     They can also discuss aspects of the crime

     without specifically mentioning the crime involved.           In the

      electronic world, it is even possible to use pictures, images

     and emoticons (images used to express a concept or idea such as

     a happy face inserted into the content of a message or the

     manipulation and combination of keys on the computer keyboard to

      convey an idea, such as the use of a colon and paren :) to

      convey a smile or agreement) to discuss matters.          "Keyword

      searches" would not account for any of these possibilities, so

     actual review of the contents of an account by law enforcement

     personnel with information regarding the identified criminal

     activity, subject to the search procedures set forth in

     Attachment B, is necessary to find all relevant evidence within

      the account.

           7.     As set forth in Attachment B, I am requesting a

      warrant that permits the search team to keep the original

      production from the PROVIDER under seal until the investigation

      is completed and, if a case is brought, that case is completed

      through disposition, trial, appeal, or collateral proceeding.

                   a.   I make that request because I believe it might be

      impossible for the PROVIDER to authenticate information taken

      from a SUBJECT ACCOUNT as its business record without the

      original production to examine.       Even if the PROVIDER kept an

      original copy at the time of production (against which it could

      compare against the results of the search at the time of trial),

      the government cannot compel the PROVIDER to keep a copy for the

      entire pendency of the investigation and/or case.          If the


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SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                          Casino 0358117
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      original production is destroyed, it may be impossible for the

      PROVIDER to examine a particular document found by the search

      team and confirm that it was a business record of the PROVIDER'S

      taken from a SUBJECT ACCOUNT.

                  b.    I also know from my training and experience, and

      discussions with senior agents,         that many accounts are purged

      as part of the ordinary course of business by providers.           For

      example, if an account is not accessed within a specified time

      period, it -- and its contents -- may be deleted.         As a

      consequence, there is a risk that the only record of the

      contents of an account might be the production that a provider

      makes to the government, for example, if a defendant is

      incarcerated and does not (perhaps cannot) access his or her

      account.     Preserving evidence, therefore, would ensure that the

      government can satisfy its Brady obligations and give the

      defendant access to evidence that might be used in his or her

      defense.


                          VI.   REQUEST FOR NON-DISCLOSURE

           8.      Pursuant to 18   u.s.c.   § 2705(b), I request that the

      Court enter an order commanding the PROVIDER not to notify any

      person, including the subscriber(s) of the SUBJECT ACCOUNT, of

      the existence of the warrant because there is reason to believe

      that such notification will result in (1) flight from

      prosecution;     (2) destruction of or tampering with evidence;

      (3) intimidation of potential witnesses; and (4) otherwise

      seriously jeopardizing the investigation.


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                                         VII. CONCLUSION

           9.     Based on the foregoing,           I request that the Court issue

      the requested search warrant.



                                                 ANDREW CIVETTI, Spe6ial Agent
                                                 Federal Bureau of Investigation

      Subscribe\ to and sworn before me
      on July    , 2016.

                  AUCH\ G, ROSENli(iiG
      UNITED STATES MAGISTRATE JUDGE




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SUBJECT TO PROTECTIVE ORDER - Sensitive Materials                           Casino 0358119
